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            UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT

Constellation Mystic               )
 Power, LLC, et al.                )
         Petitioners,              )
                                   )
           v.                      )          No. 21-1198, et al.
                                   )          (consolidated)
Federal Energy Regulatory          )
 Commission,                       )
        Respondent.                )


                UNOPPOSED MOTION TO GOVERN

     Under the Court’s October 26, 2023 order and Federal Rule of

Appellate Procedure 27, Petitioner Constellation Mystic Power, LLC

(“Mystic”) submits this motion to govern future proceedings. Mystic has

consulted with counsel for all other parties in these consolidated

appeals. No party has said that it will object to the proposal set forth

below.

                             BACKGROUND

     These cases have been held in abeyance since August 2022.

Initially, these cases were held pending final decision in this Court of

MISO Transmission Owners v. FERC, 45 F.4th 248 (August 9, 2022).

Following this Court’s remand in MISO Transmission Owners, the

parties have agreed to 90-day abeyances to await a final ruling from

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FERC in that case, which some expect may bear on some of the issues

raised in the consolidated petitions for review in this proceeding.

     Most recently, on October 25, 2023, Mystic filed its latest

unopposed motion requesting an additional 90-day abeyance. ECF Doc.

# 2023787. The Court granted that motion, directing the parties to file

motions to govern future proceedings by January 24, 2024. Order, ECF

Doc. # 2023882.

                              PROPOSAL

     All parties agree that this case should remain in abeyance for a

further ninety days, pending possible action by the Commission on the

remand in the MISO Transmission Owners case during that time. The

Commission has taken no action in the MISO Transmission Owners

docket during the past 90 days. What the Commission does on remand

in the MISO Transmission Owners case could eventually change the

Commission’s position on some of the issues presented in these

consolidated appeals. At the same time, Mystic would oppose an

indefinite, lengthy abeyance given that these appeals focus on Mystic’s

cost recovery for a set period of time that began on June 1, 2022 and is

scheduled to end May 31, 2024, and not all of the issues here are



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implicated by the MISO Transmission Owners proceeding. For these

reasons, the parties have agreed to seek a 90-day abeyance, reserving

their rights to seek further abeyance of this proceeding or to propose

alternative paths if the MISO Transmission Owners case remains

pending before the Commission after that time.

     Accordingly, Mystic, without opposition, moves this Court for an

order: (1) keeping the consolidated petitions, No. 21-1198, et al., in

abeyance, and (2) directing that motions to govern future proceedings

be filed within 90 days.



Dated: January 24, 2024                   Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

         Pursuant to Fed. R. App. P. 32(g), I certify that this filing complies

with the type-volume limitation of Fed. R. App. P. 27(d)(2)(C) because it

contains 388 words, excluding the parts exempted by Fed. R. App. P.

32(f).

         I further certify that this filing complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type style

requirements of Fed. R. App. P. 32(a)(6) because this filing has been

prepared in Century Schoolbook 14-point font using Microsoft Word.



Dated: January 24, 2024                       /s/ Matthew A. Fitzgerald
                                              Matthew A. Fitzgerald

                                              Counsel for Constellation Mystic
                                              Power, LLC




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                     CERTIFICATE OF SERVICE

      I hereby certify that, on January 24, 2024, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.



                                           /s/ Matthew A. Fitzgerald
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